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 6                           UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
 8
 9   RONALD O’NEAL CALVIN,
10          Petitioner,                                 Case No. 3:08-CV-00033-LRH-(RAM)
11   vs.                                                ORDER
12   E. K. MCDANIELS, et al.,
13          Respondents.
14
15          In response to the Court’s Order (#40) directing Petitioner to decide what to do with his
16   unexhausted grounds, Petitioner has filed a Motion to Answer Order (#41), in which he asks to
17   dismiss this action while he returns to state court. The Court grants his request.
18          Petitioner has submitted a Motion for the Appointment of Counsel (#42). This motion is
19   moot because the Court is dismissing the action.
20          In the Court’s previous Order (#40), it held that it would deny Petitioner’s Motion for Stay
21   and Abeyance (#38), but the Court did not enter an order to that effect. The Court corrects that
22   omission here.
23          IT IS THEREFORE ORDERED that Petitioner’s Motion for the Appointment of Counsel
24   (#42) is DENIED as moot.
25          IT IS FURTHER ORDERED that Petitioner’s Motion for Stay and Abeyance (#38) is
26   DENIED.
27   ///
28   ///
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 1          IT IS FURTHER ORDERED that Petitioner’s Motion to Answer Order (#41) is
 2   GRANTED. This action is DISMISSED without prejudice. The Clerk of the Court shall enter
 3   judgment accordingly.
 4          DATED this 6th day of October, 2009.
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 6                                                         _________________________________
                                                            LARRY R. HICKS
 7                                                          UNITED STATES DISTRICT JUDGE
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